                          United States District Court
                        Western District of North Carolina
                               Charlotte Division

    At CPI Security Systems, Inc.,     )              JUDGMENT IN CASE
                                       )
             Plaintiff(s),             )            3:20-cv-00504-FDW-DSC
                                       )
                 vs.                   )
                                       )
   Legacy Vivint Smart Home, Inc.      )
      Vivint Smart Home, Inc.,
           Defendant(s).               )

 DECISION BY COURT. This action having come before the Court by Trial and a verdict
having been rendered;

IT IS ORDERED AND ADJUDGED that Judgment is hereby entered in accordance with the
Jury’s February 17, 2023 Verdict.

                                                February 17, 2023




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